        Case 1:22-mj-00158-GMH Document 1-1 Filed 07/14/22 Page 1 of 1




                                  STATEMENT OF FACTS

        On July 13, 2022, law enforcement officers executed a Federal search warrant on xxxx
Xxxxxxxxxx Xxxx, Xxxxxxxxx xxx, Washington, DC, where ALONZO LOTHARP is the lease
holder. The warrant’s supporting affidavit was based on probable cause to believe that a different
individual was using the location as a stash house for drug trafficking, and specifically mentioned
that LOTHARP was the leaseholder. LOTHARP is the sole resident of the one-bedroom
apartment. Law enforcement officers searched the bedroom and found a Colt Detective .38
special revolver SN# 857529 in the closet on the shelf, along with two loaded pistol magazines,
an empty pistol magazine, and a box of 9mm ammunition. Also in the bedroom, inside the top
drawer of a plastic organizer, officers found a small black digital scale and an orange pill bottle
containing two clear plastic baggies of a green leafy substance. Officers also found and seized one
black cellphone on the table next to his bed, miscellaneous mail addressed to LOTHARP and two
sets of keys. Finally, on the bedroom floor officers found a reusable shopping bag full of
miscellaneous plastic bags with various designs.

        In the living room, on an end table, officers found a loaded AR-style magazine in a plastic
bag with loose rifle ammunition. In the kitchen, officers found two small black digital scales, one
on the kitchen table and one on top of the refrigerator. Officers also found a small black bag of
“uptown funnel,” (a brown substance suspected to be synthetic marijuana) on top of the
refrigerator next to one of the black digital scales.

        After arrest, LOTHARP was interviewed at the ATF Washington Field Office, located at
90 K Street NE, in Washington, D.C by ATF Agents. LOTHARP was advised of his Miranda
rights. He waived those rights and spoke with ATF Agents. During the interview, LOTHARP
claimed possession of the firearm and ammunition recovered in his bedroom.

         A review of LOTHARP’s criminal history indicates LOTHARP was convicted in 1991 in
Maryland with assault with intent to murder, and received a sentence of 30 years in prison, with
all but fifteen years suspended.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
ALONZO LOTHARP violated 18 U.S.C. § 922(g), which makes it a crime to possess a firearm
after being convicted of a crime punishable by imprisonment for a term exceeding one year.


                                                     _______________________________
                                                     SPECIAL AGENT NICCOLO COIA
                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms, and Explosives

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of July, 2022.
                                                                        Digitally signed by
                                                                        G. Michael Harvey
                                                     _____________________________
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE
